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                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                           Charlottesville Division

  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, TYLER MAGILL, APRIL
  MUNIZ, HANNAH PEARCE, MARCUS
  MARTIN, NATALIE ROMERO, CHELSEA
  ALVARADO, and JOHN DOE,

                         Plaintiffs,
  v.

  JASON KESSLER, RICHARD SPENCER,
  CHRISTOPHER CANTWELL, JAMES
  ALEX FIELDS, JR., VANGUARD
  AMERICA, ANDREW ANGLIN,                  Civil Action No. 3:17-cv-00072-NKM
  MOONBASE HOLDINGS, LLC, ROBERT
  “AZZMADOR” RAY, NATHAN DAMIGO,
  ELLIOT KLINE a/k/a/ ELI MOSLEY,
  IDENTITY EVROPA, MATTHEW
  HEIMBACH, MATTHEW PARROTT a/k/a
  DAVID MATTHEW PARROTT,
  TRADITIONALIST WORKER PARTY,
  MICHAEL HILL, MICHAEL TUBBS,
  LEAGUE OF THE SOUTH, JEFF SCHOEP,
  NATIONAL SOCIALIST MOVEMENT,
  NATIONALIST FRONT, AUGUSTUS SOL
  INVICTUS, FRATERNAL ORDER OF THE
  ALT-KNIGHTS, MICHAEL “ENOCH”
  PEINOVICH, LOYAL WHITE KNIGHTS OF
  THE KU KLUX KLAN, and EAST COAST
  KNIGHTS OF THE KU KLUX KLAN a/k/a
  EAST COAST KNIGHTS OF THE TRUE
  INVISIBLE EMPIRE,

                         Defendants.




      PLAINTIFFS’ MEMORANDUM IN RESPONSE TO DEFENDANT MICHAEL
   PEINOVICH’S OBJECTIONS TO MAGISTRATE JUDGE’S MARCH 22, 2018 ORDER




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         Plaintiffs submit this Memorandum in Response to Defendant Michael Peinovich’s

  Objections to Magistrate Judge Hoppe’s March 22, 2018 Order.

                                 PRELIMINARY STATEMENT

         Mr. Peinovich knowingly conspired with the other defendants to plan, supervise, and

  execute a brutal campaign of racial and religious terror in Charlottesville, Virginia. As intended,

  the defendants’ unlawful conspiracy drew widespread national attention. In October 2017, the

  plaintiffs filed this lawsuit to hold the defendants accountable for their illegal, injurious acts.

  Understandably, there is strong public and journalistic interest in the case. Accordingly, as

  lawyers often do in civil matters, Roberta Kaplan has publicly explained the factual background,

  legal theory, relief sought, and broader context of this litigation. Her statements have all been

  consistent with rules and norms of attorney speech—and with Ms. Kaplan’s duty of zealous

  advocacy on behalf of the men and women she represents. See Model Rules of Prof’l Conduct r.

  1.3 cmt.1 (Am. Bar Ass’n 2016).

         On March 10, 2018, Mr. Peinovich filed a sanctions motion against Ms. Kaplan, citing a

  grab-bag of professional rules in support of his request for dismissal or a gag order. ECF No.

  258. On March 14, 2018, Ms. Kaplan filed a detailed response setting forth why her conduct

  was proper and did not justify the relief sought. ECF No. 273 (“Br.”).            After reviewing

  Mr. Peinovich’s reply brief filed on March 21, Judge Hoppe denied his sanctions motion on

  March 22, 2018. ECF No. 285 (“Order”).

         Mr. Peinovich has a peculiar view of the First Amendment. He believes that it protects

  people who conspire to plot and perpetrate acts of violence, while offering no shelter to peaceful

  attorney speech about claims in civil litigation. Mr. Peinovich is wrong. Judge Hoppe correctly




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  held that the First Amendment, as well as the applicable rules of conduct and Fourth Circuit law,

  require that his motion for sanctions be denied.

                                            ARGUMENT

         Federal Rule of Civil Procedure 72 permits a party to submit objections to a magistrate

  judge’s ruling to the district court. See Fed. R. Civ. P. 72; see also 28 U.S.C. § 636(b). For non-

  dispositive matters such as this one, “the district court will modify or set aside the magistrate

  judge’s order only if it ‘is clearly erroneous or is contrary to law.’” Wyatt v. Owens, No. 7:14-

  Civ-492, 2016 WL 6651410, at *1 (W.D. Va. Nov. 10, 2016) (Moon, J.) (quoting Rule 72(a)).

  “A ruling is ‘clearly erroneous’ only when the totality of the record leaves the Court with ‘the

  definite and firm conviction that a mistake has been committed.’” Id. at *2 (citations omitted).

  A ruling is “contrary to law” when “it fails to apply or misapplies relevant statutes, case law, or

  rules of procedure.”    Id. (citation omitted).    “The leading treatise on federal practice and

  procedure describes altering a magistrate’s nondispositive orders as ‘extremely difficult to

  justify.’” Id. (quoting 12 Wright & Miller, Federal Practice and Procedure § 3069 (2d ed.

  1997)). Mr. Peinovich cannot possibly satisfy Rule 72’s demanding standard here.

         As Judge Hoppe made clear, there is no merit whatsoever to Mr. Peinovich’s allegations:

  “the Court is not persuaded that counsel contravened any applicable statute or rule.” Order at 2.

  Judge Hoppe added that “nothing presented thus far suggests counsel’s statements present a

  reasonable likelihood of tainting the jury pool.” Id. at 3 (citation omitted, internal quotation

  marks omitted). In arriving at this conclusion, Judge Hoppe emphasized the First Amendment

  concerns raised by broad gag orders as well as the fact that Ms. Kaplan has not imputed

  prejudicial statements to Mr. Peinovich. Id. at 2–3.




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          In his objections to Judge Hoppe’s order, Mr. Peinovich abandons nearly every argument

  he made below—including his request for dismissal of the case. He clings only to a single claim:

  that Ms. Kaplan should be subjected to a wide-ranging prior restraint on speech due to alleged

  violations of New York Rule 3.6 and ABA Rule 3.6, neither of which actually apply here. See

  Judge Glen E. Conrad, In Re: Amendment to Rule IV—Standards for Professional Conduct of

  Federal Rules of Disciplinary Enforcement (June 16, 2016), available at http://www.vawd.

  uscourts.gov/media/11951394/amendment-to-rule-iv-for-attorneys.pdf                    (providing       that    the

  Western District of Virginia’s Rules of Disciplinary Enforcement, which concern standards for

  professional conduct, now incorporate the Virginia Rules of Professional Conduct). To support

  that position, Mr. Peinovich reiterates his unsubstantiated claim that Ms. Kaplan has taken

  “actions aimed at turning the public, including the public in the Western District of Virginia,

  against [him] and the other defendants.” Br. at 7.

          Mr. Peinovich’s objections, however, could not possibly provide this Court with the

  “definite and firm conviction” required to conclude “that a mistake has been committed.” Wyatt,

  2016 WL 6651410, at *1. While Mr. Peinovich attempts to manufacture ambiguity about the

  legal and factual basis for Judge Hoppe’s order in his objections, see Br. at 5–6, Judge Hoppe

  could not have been clearer: he denied the request for a gag order by applying Fourth Circuit law

  (including First Amendment protections) to a factual record devoid of evidence that Ms. Kaplan

  has tainted the jury pool.1 See Order at 2–3. Mr. Peinovich offers no evidence that Ms. Kaplan’s

  comments have caused the negative consequences he describes.                        See Br. 7–8.       Similarly,

  Mr. Peinovich does not identify any legal rule that Judge Hoppe misapplied in concluding that

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           For the record, Ms. Kaplan has fewer than 4,665 Twitter followers. It is safe to assume that only a small
  fraction of them live in the Western District of Virginia—and that only a fraction of that fraction even saw the
  tweets about which Mr. Peinovich complains (none of which crossed the lines set by applicable rules of professional
  conduct).



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  Ms. Kaplan has complied with all applicable standards of attorney speech. Instead, he alternates

  at random between the New York Rules, the ABA Rules, and “a substantially similar

  standard[],” all the while tacitly conceding that Virginia’s rules (and highly relevant precedents)

  are the only rules that apply here and do not support his position. See Br. 5-7. Nevertheless, as

  Ms. Kaplan explained in her original response to Mr. Peinovich—a filing that she incorporates

  by reference here—her remarks were fully consistent with New York Rule 3.6 and are shielded

  by the First Amendment. See Dkt. 273 at 13–15; see also Hirschkop v. Snead, 594 F.2d 356, 373

  (4th Cir. 1979) (en banc); U.S. ex rel. Davis v. Prince, 753 F. Supp. 2d 561, 568 (E.D. Va.

  2010); Matter of Sullivan, 185 A.D.2d 440, 445 (N.Y. App. 3d Dep’t 1992); Jane Doe No. 1 v.

  Zeder, 782 N.Y.S.2d 349, 354 (N.Y. Sup. Ct. 2004).

                                          CONCLUSION

         For the foregoing reasons, Defendant Peinovich’s objections to Magistrate Judge

  Hoppe’s March 22, 2018 order should be denied.



  Dated: April 19, 2018                            Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on April 19, 2018, I filed the foregoing with the Clerk of Court
  through the CM/ECF system, which will send a notice of electronic filing to:

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          I further hereby certify that on April 19, 2018, I also served the following non-ECF
  participants, via U.S. mail, First Class and postage prepaid, addressed as follows:

  Loyal White Knights of the Ku Klux Klan          East Coast Knights of the Ku Klux Klan
  a/k/a Loyal White Knights Church of              a/k/a East Coast Knights of the
  the Invisible Empire, Inc.                       True Invisible Empire
  c/o Chris and Amanda Barker                      26 South Pine St.
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  Richard Spencer                                  Fraternal Order of the Alt-Knights
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